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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA
                                       MIAMI DIVISION
                                  Case No.: 1:21-cv-24274-CMA

 DAWN MICHELLE FRENCH,

           Plaintiff,
 v.

 FMR LLC; AND LIFE INSURANCE
 COMPANY OF NORTH AMERICA,

       Defendants.
 ____________________________________/

             PLAINTFIFF’S NOTICE OF VOLUNTARY DISMISSAL WITH
            PREJUDICE AS TO DEFENDANT FMR LLC AND COUNT 1 OF
      PLAINTIFF’S SECOND AMENDED COMPLAINT FOR DISABILITY BENEFITS

            Pursuant to Fed. R. Civ. P. 41, Plaintiff, Dawn Michelle French, hereby voluntarily

  dismisses Defendant, FMR LLC and Count 1 of Plaintiff’s Second Amended Complaint for

  Disability Benefits (“Plaintiff’s Second Amended Complaint”) filed on January 20, 2022.

  Defendant, Life Insurance Company of North America, and all remaining allegations contained

  in Plaintiff’s Second Amended Complaint remain.

                                    CERTIFICATE OF SERVICE

           I CERTIFY that on the 22nd day of February, 2022 I electronically filed the foregoing with the

 Clerk of Court using the CM/ECF system which will send a notice of electronic filing to all parties of

 record.


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